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                         12
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                         14   BITPAY, INC.

                         15
                                                        UNITED STATES DISTRICT COURT
                         16
                                                      CENTRAL DISTRICT OF CALIFORNIA
                         17
                                                                      WESTERN DIVISION
                         18
                         19
                              OX LABS, INC.,                                Case No. 2:18-cv-05934-MWF-KS
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                         21
                                                       Plaintiff,           DEFENDANT BITPAY, INC.’S
                                                                            RESPONSE TO PLAINTIFF’S
                         22   vs.                                           MOTION IN LIMINE NO. 3 TO
                         23   BITPAY, INC. and Does 1-10,                   PRECLUDE BITPAY FROM
                                                                            ARGUING THAT IT NO LONGER
                         24                            Defendants.          HAS PLAINTIFF’S PROPERTY AND
                         25                                                 THEREFORE CANNOT RETURN IT

                         26                                                 Pretrial Conf: November 18, 2019
                         27                                                 Time: 11:00 A.M.
                                                                            Dept.: 5A
                         28                                                 Trial: December 3, 2019
                               OPPOSITION TO MOTION IN LIMINE NO. 3                               Case No. 2:18-cv-05934-MWF-KS
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                          1                  MEMORANDUM OF POINTS AND AUTHORITIES:
                          2   I.      INTRODUCTION
                          3           Plaintiff Ox Labs’ Motion in Limine No. 3 seeks to exclude critical evidence
                          4   of the central element of this lawsuit – Ox Labs seeks restitution of 200 erroneously-
                          5   credited bitcoins, yet desires to prevent any evidence that BitPay no longer possesses
                          6   such bitcoins, or any bitcoins connected to the Ox Labs error. In addition to the fact
                          7   that this lawsuit should not exist in the first place, the holding Ox Labs seeks would
                          8   be unprecedented in that it would prevent Ox Labs itself from proving a critical
                          9   element that BitPay still has erroneously credited property to receive in restitution,
                         10   as well as prevent BitPay from putting forth evidence rebutting such a critical
                         11   element of restitution.
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                         12           This lawsuit is about an error by Ox Labs. Not knowing of the error, BitPay
                         13   proceeded to execute trades of the erroneously credited bitcoins, including trading
                         14   the volumes connected to the erroneous credit down to zero. Unlike every case cited
                         15   by Ox Labs in which the issue was return of a specific piece of identifiable property,
                         16   or even a commodity that it simply stored in a vault, the issue here is a credit for a
                         17   commodity that was subject to immediate and frequent trading, and trading
                         18   decisions. In other words, Ox Labs seeks to use its own error to switch the burden
                         19   of investment risk and decision-making to BitPay, thus earning a windfall because
                         20   the price of bitcoins happened to increase and because BitPay happens to have other
                         21   bitcoins that are not connected to the error. Ox Labs now seeks a Court ruling
                         22   validating its windfall without any evidence demonstrating the windfall and
                         23   unavailability and inappropriate nature of restitution.
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                               OPPOSITION TO MOTION IN LIMINE NO. 3       1                    Case No. 2:18-cv-05934-MWF-KS
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                          1   II.     ARGUMENT
                          2           A.      Ox Labs Points To No Specific Evidence – Indeed, It Took
                                              No Depositions – That May Be Subject To A Motion In
                          3
                                              Limine
                          4
                                      As stated in Mims v. Fed. Express Corp., No. CV 13-03947-AB (SSX), 2015
                          5
                              WL 12711651, at *1 (C.D. Cal. Jan. 15, 2015):
                          6             Motions in limine afford the court and counsel the opportunity to
                          7             give more deliberate consideration to specific objections
                                        to specific evidence. Colton Crane Co., LLC v. Terex Cranes
                          8             Wilmington, Inc., No. CV 08-8525-PSG (PJWx), 2010 WL
                          9             2035800, at *1 (C.D. Cal. May 19, 2010). They will not lie to
                                        exclude broad categories of evidence. See Liberal v. Estrada,
                         10             No. C 07-0024 SBA, 2011 WL 3956068, at *5. As one California
                         11             court has succinctly observed, unless the motion
                                        identifies specific evidence it seeks to exclude and
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                         12             the specific reasons to exclude it, the court would be forced to
                         13             “rule in a vacuum” on the admissibility of evidence. Kelly v. New
                                        West Federal Savings, 49 Cal.App.4th 659, 670, 56 Cal.Rptr.2d
                         14
                                        803 (Cal. Ct. App. 1996). If granted, such amorphous motions
                         15             would “leav[e] the court and the parties to guess what [evidence]
                                        during trial may be included within the scope of the ruling.” Id.
                         16
                         17   See also Vago v. Cty. of Los Angeles, No. CV 13-868 DMG (RZX), 2015 WL
                         18   13697386, at *4 (C.D. Cal. Aug. 7, 2015):
                         19               Motions in limine should            refer    to specific evidence.
                                          (See Scheduling and Case Management Order at 7
                         20               (“Motions in limine should address specific issues (i.e., not “to
                         21               exclude all hearsay, etc.).”) [Doc. # 22].) The Court declines to
                                          consider        blanket        objections.     Counsel        may
                         22               raise specific objections at trial.
                         23
                                      Here, Ox Labs has not only failed to cite specific evidence it seeks to exclude,
                         24
                              but it took no depositions and is thus not in a position to cite specific evidence to
                         25
                              exclude.
                         26
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                               OPPOSITION TO MOTION IN LIMINE NO. 3        2                     Case No. 2:18-cv-05934-MWF-KS
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                          1           B.      Bitpay’s Possession, Or Lack Thereof, Of Ox Lab’s Bitcoins
                                              Is Relevant To The Multiple Theories Of Recovery Ox Labs
                          2                   Is Attempting To Argue
                          3           Ox Labs is seeking to have it both ways in this case. It is arguing that BitPay
                          4   committed conversion, and California law is clear that the remedy is the value of the
                          5   property at the time of the taking where there is no manifestly unjust action on the
                          6   part of a defendant to justify alternative recovery under the statute. Cal. Civ. Code
                          7   § 3336. As that remedy would involve return of the proceeds from the sale of Ox
                          8   Lab’s 200 bitcoins in 2015, rather than Ox Labs profiting from a million plus dollar
                          9   increase in value, Ox Labs is also arguing that under an unjust enrichment or
                         10   restitution theory (that statutorily requires affirmative wrongdoing or fraud on the
                         11   part of a defendant) it should be entitled to the return of the specific 200 bitcoins that
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                         12   were credited BitPay. Yet, since it is now undisputed by both parties that there is no
                         13   way BitPay could identify with specificity which exact 200 bitcoins belonged to Ox
                         14   Labs, Ox Labs is now arguing that they should be entitled to the return of any 200
                         15   bitcoins in BitPay’s possession and that the evidence of BitPay’s previous sale of
                         16   Ox Lab’s 200 bitcoins is wholly irrelevant to the case at hand.
                         17           However, at trial, BitPay will be able to prove that whether deposits and sales
                         18   are connected or not, the erroneous bitcoin was subject to a series of trades that hit
                         19   zero – completely disconnecting the error to any ongoing holdings bitcoin holdings
                         20   by BitPay. Ox Labs is somehow trying to analogize bitcoin to be both specific,
                         21   tangible property with definable properties, but also fungible and just a form of
                         22   currency or medium of exchange that does not require identification. As a matter of
                         23   law, Ox Labs cannot have it both ways. Unlike specifically identifiable property or
                         24   fungible items that do not change value, bitcoin is subject to ongoing trading and
                         25   changes in value – and if Ox Labs were correct, it would obtain a windfall from its
                         26   own error by switching the burden of investment risk and decisions to innocent
                         27   BitPay. It appears that Ox Labs is trying to say that because BitPay happens to have
                         28   other bitcoin holdings that are completely disconnected from the error, restitution is
                               OPPOSITION TO MOTION IN LIMINE NO. 3        3                      Case No. 2:18-cv-05934-MWF-KS
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                          1   available and BitPay should be prevented from showing the same. Not a single case
                          2   cited by Ox Labs stands for this proposition.
                          3           In pleading conversion (which, as stated, the relief is the value of the property
                          4   at the time of the conversion), Ox Labs is attempting to define bitcoin as tangible
                          5   property, with inherent and intrinsic properties in their physical form, despite the
                          6   fact that bitcoins do not actually exist physically. In Ananda Church of Self-
                          7   Realization v. Massachusetts Bay Ins. Co., 95 Cal. App. 4th 1273, 1282 (3d Cal.
                          8   2002) a California appeals court stated the “tangibility requirement” of conversion.
                          9   While conversion actions have since been extended by the courts to apply to
                         10   intangible property, the concept of what tangibility requires laid out by the court in
                         11   Ananda Church still holds. The “injury to” or “loss of use” to a physical piece of
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                         12   property has to be inherently derived from the value or exploitation of that piece of
                         13   property itself.
                         14           In Ananda Church, the plaintiff was attempting to bring an action for
                         15   conversion in the “loss of use” of papers that the plaintiff had thrown in the trash but
                         16   that the defendant had later taken out and then used the information contained in the
                         17   papers. In rejecting the plaintiff’s claim, the court stated that “[i]f plaintiffs suffered
                         18   monetary loss or emotional distress, it was caused not by the injury to, or the inability
                         19   to use the papers previously discarded, but by the exploitation of the information
                         20   contained in those papers following their retrieval from the garbage.” Id. at 1284.
                         21   Similar to a piece of paper containing valuable information, bitcoins solely exist to
                         22   prove value as form of digital currency, and the loss is represented by the economic
                         23   loss represented at the time of the alleged conversion. Any loss that Ox Labs is
                         24   asserting stems from the fact that they lost 200 bitcoins back at the time of the
                         25   inadvertent transfer, not from the fact that they cannot physically or tangibly hold
                         26   200 bitcoins today. Therefore, it is extremely relevant to the question of damages
                         27   of whether BitPay sold and collected proceeds from the sale of 200 bitcoins back in
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                               OPPOSITION TO MOTION IN LIMINE NO. 3         4                      Case No. 2:18-cv-05934-MWF-KS
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                          1   2015, as any alleged economic loss, or alleged gain by BitPay, is limited to whether
                          2   BitPay kept the bitcoins at issue or sold them for certain proceeds.
                          3           Yet, now, Ox Labs is seeking equitable relief in the return of property that
                          4   was allegedly taken, which is essentially an argument for replevin, or claim and
                          5   delivery under California law. This requires that the “specific personal property
                          6   claimed should be described with a reasonable degree of certainty; and as a rule,
                          7   money is not the subject of such an action unless it is marked or designated in some
                          8   manner so as to make it specific as regards its capability of identification.” Tsai v.
                          9   Wang, Case No. 17-cv-00614-DMR, 2017 WL 2587929 (N.D. Cal. June 14, 2017).
                         10   Therefore, if Ox Labs is arguing that it is due specific property back, under this
                         11   theory of recovery, whether BitPay still possesses the property at issue is absolutely
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                         12   relevant.
                         13           Furthermore, by pleading unjust enrichment, Ox Labs by definition is arguing
                         14   that BitPay was unjustly conferred a benefit (which it must also plead was through
                         15   either fraudulent or wrongful conduct) at the expense of Ox Labs. In order to prove
                         16   that BitPay was unjustly enriched, under the very definition of the claim, Ox Labs
                         17   will be required to prove that BitPay continued to own and use the 200 bitcoins at
                         18   issue for their own benefit, conferring a benefit to itself at the detriment of Ox Labs.
                         19   Ox Labs even maintained in its Memoranda of Contentions of Fact and Law that
                         20   BitPay was further enriched in 2017 when BitPay supposedly received Bitcoin Cash
                         21   and Bitcoin Gold as a result of retaining the extra 200 bitcoins from Ox Labs.
                         22   Therefore, Ox Labs is attempting to exclude the very piece of evidence that is
                         23   necessary to either prove or disprove its case. If BitPay sold the 200 bitcoins, and
                         24   tendered those proceeds, there can be no enrichment (which enrichment would be
                         25   limited to the value received). Conversely, in order to prove that BitPay retained a
                         26   benefit from the 200 bitcoins that were given it, Ox Labs has to prove that they
                         27   continued to possess said bitcoins. It simply cannot seek to exclude the most relevant
                         28   piece of evidence now, simply because it may derail its case.
                               OPPOSITION TO MOTION IN LIMINE NO. 3       5                     Case No. 2:18-cv-05934-MWF-KS
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                          1           C.      Ox Labs’ Case Law Cited In Its Motion Supports Bitpay’s
                                              Position
                          2
                                      Once again, all of Plaintiff’s cited case law supports BitPay’s position.
                          3
                              Plaintiff cites Welco Electronics, Inc. v. Mora for the proposition that “money may
                          4
                              be the subject of conversion if the claim involves a specific, identifiable sum.” 223
                          5
                              Cal. App. 4th 202, 209 (2014). However, Welco stands for the proposition that the
                          6
                              California courts have recognized the evolution of the common law tort of
                          7
                              conversion to apply to intangible assets. The court cited the example of intangible
                          8
                              property rights “when represented by documents such as bonds, notes, bills of
                          9
                              exchange, stock certificates, and warehouse receipts” and further stated that “these
                         10
                              cases are far removed from the paradigm case of physical conversion; they are
                         11
                              essentially financial or economic tort cases, not physical interference cases.” This
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                         12
                              only supports BitPay’s position that the return of 200 specific bitcoins does not
                         13
                              follow under the law of conversion; rather the correct remedy is return of the value
                         14
                              of said bitcoins at the time of the alleged conversion.
                         15
                                      Ox Labs then goes on to cite Horn v. Klatt for the proposition that even if
                         16
                              BitPay cannot return the precise bitcoins Ox Labs supplied, it can undoubtedly return
                         17
                              other bitcoins of “the same kind and quality.” 65 Cal. App. 2d 510 (1944). Yet
                         18
                              Horn actually stands for BitPay’s position, namely that the alleged conversion of
                         19
                              property worth $50k at one time is not a conversion of property now worth over $2
                         20
                              million. The court stated that “certain commodities are delivered in pledge, such as
                         21
                              wheat, which in the handling becomes so mixed with other commodities of similar
                         22
                              character that it may become impossible to return the identical commodity which
                         23
                              was originally pledged.” Id. at 522. The court continues that “there is no apparent
                         24
                              reason why the entire debt should be satisfied as a penalty for the conversion of
                         25
                              pledged property which has an ascertainable market value.” (emphasis added). The
                         26
                              court stated that as a matter of law, these questions are to be determined by the facts
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                              of each case. (emphasis added). Therefore, the fact that BitPay no longer has the
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                               OPPOSITION TO MOTION IN LIMINE NO. 3       6                    Case No. 2:18-cv-05934-MWF-KS
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                          1   200 bitcoins inadvertently credited to it is an essential evidentiary fact to this case,
                          2   and there is no basis for why it should be excluded.
                          3           D.      The Only Prejudice Would Stem From Exclusion Of This
                                              Evidence
                          4
                          5           The only way this evidence is “prejudicial” to Ox Labs is that it could preclude
                          6   Ox Labs from a windfall recovery at BitPay’s expense. BitPay seeks to introduce
                          7   all relevant facts to this case into evidence for the jury to decide the adequate remedy
                          8   at law. The fact that BitPay immediately sold the bitcoins from Ox Labs’ crediting
                          9   error for proceeds will be extremely relevant to the jury as it decides the appropriate
                         10   measure of damages, especially whether BitPay was “unjustly enriched” and the
                         11   exclusion would be prejudicial solely to BitPay. There is no danger of confusion, or
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                         12   misleading of the jury, as this case involves a very simple set of facts, and it is the
                         13   jury’s job to apply the facts at issue to the relevant law. Therefore, for the foregoing
                         14   reasons, the Court should deny Ox Labs’ motion in limine to preclude BitPay from
                         15   arguing that it no longer has Ox Labs’ 200 bitcoins.
                         16           E.      Ox Labs Incorrectly Alleges That BitPay Waived This
                                              Defense
                         17
                                      In a position wholly unsupported by law, Ox Labs alleges that because BitPay
                         18
                              did not provide an express proposed jury instruction regarding the fact that it no
                         19
                              longer has the bitcoins at issue amounted to a waiver. There are numerous fallacies
                         20
                              with this position. First, the Answer clearly alleged that BitPay disposed of the
                         21
                              bitcoins at issue.
                         22
                                      Second a “proposed” jury instruction is just that – a proposal that sets up a
                         23
                              meet and confer. The proposals were due before a meet and confer, before the actual
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                              deadline for the filing with the court any proposed jury instructions, before filing of
                         25
                              contentions of fact and law (which address the issue, and nothing new is raised in
                         26
                              any updated proposed jury instruction), before the filing of motions in limine, and
                         27
                              in this case the issue of the fact that BitPay no longer has the bitcoin at issue has
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                          1   been well-discussed between the Court and parties since the beginning and during
                          2   recent meet and confer efforts. Ox Labs’ position is essentially a “bury their head
                          3   in the sand” approach to ignore the openness of this issue in a tactical attempt to win
                          4   a windfall.
                          5            Third, BitPay did propose jury instructions that addressed the issue.
                          6   Specifically, in its initial proposed instruction 29, BitPay stated that it “sold the
                          7   erroneous bitcoins that day, there is no evidence BitPay continued to hold any benefit
                          8   from the 200 erroneous bitcoin, and that Ox Labs is unable to show that it would
                          9   have retained the 200 bitcoin but for the error.” Initial proposed jury instruction 30
                         10   also stated: “you may award Ox Labs specific recovery of its property, in this case
                         11   200 Bitcoins, but only if you find either that BitPay continues to benefit from the
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                         12   200 erroneous bitcoin credit and/or if Ox Labs has proven that it would still possess
                         13   the 200 bitcoin but for the error. It appears that Ox Labs is hung up on labels rather
                         14   than substance.
                         15            Finally, although stated as a defense in an abundance of caution, the failure to
                         16   prove the right to restitution is simply Ox Labs’ failure to prove its own cause of
                         17   action, and is also addressed in standard jury instructions. This motion stands for
                         18   nothing more than Ox Labs’ attempt to avoid a critical element of its own burden of
                         19   proof.
                         20                                                Respectfully submitted,
                         21   DATED: November 4, 2019                      RUSS, AUGUST & KABAT
                                                                           Benjamin T. Wang
                         22                                                James S. Tsuei
                         23                                                By: /s/ Benjamin T. Wang
                         24                                                     Attorney for Defendant
                                                                                BitPay, Inc.
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                               OPPOSITION TO MOTION IN LIMINE NO. 3         8                     Case No. 2:18-cv-05934-MWF-KS
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                          1                                 CERTIFICATE OF SERVICE
                          2            I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                          3    and 5-4 that the foregoing DEFENDANT BITPAY, INC.’S RESPONSE TO
                          4    PLAINTIFF’S MOTION IN LIMINE NO. 3 TO PRECLUDE BITPAY FROM
                          5    ARGUING THAT IT NO LONGER HAS PLAINTIFF’S PROPERTY AND
                          6    THEREFORE CANNOT RETURN IT was served upon the attorney(s) of record
                          7    for each party through the ECF system as identified on the Notice of Electronic
                          8    Filing on November 4, 2019.
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                         12                                            By:     /s/ Benjamin T. Wang
                         13                                                  Benjamin T. Wang

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                                OPPOSITION TO MOTION IN LIMINE NO. 3          9                  Case No. 2:18-cv-05934-MWF-KS
